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                                          March 15, 2022                           Kevin W. Mottley
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By Overnight Federal Express Delivery

Hon. Julia C. Dudley, Clerk
United States District Court for the Western District of Virginia
210 Franklin Road S.W.
Suite 540
Roanoke, Virginia 24011-2208

       Re:     UMB Bank National Association v. Blues tone Coke, LLC, et al.
               Judgment from the U.S. District Court for the Southern District of New York
               Civil Action No. 20-cv-2043-LJL (Southern District of New York case number)

Dear Ms. Dudley:

       Enclosed for filing in the Western District of Virginia is a Clerk's Certification of a
Judgment to be Registered in Another District together with the required $49.00 filing fee made
payable to "Clerk, U.S . District Court."

       I am requesting that this judgment, which comes from the U.S. District Court for the
Southern District of New York, be registered in the U.S. District Court for the Western District
of Virginia pursuant to 28 U.S.C. § 1963. That statute provides as follows:

       A judgment in an action for the recovery of money or property entered in any
       court of appeals, district court, bankruptcy court, or in the Court of International
       Trade may be registered by filing a certified copy of the judgment in any other
       district or, with respect to the Court of International Trade, in any judicial district,
       when the judgment has become final by appeal or expiration of the time for
       appeal or when ordered by the court that entered the judgment for good cause
       shown. Such a judgment entered in favor of the United States may be so
       registered any time after judgment is entered. A judgment so registered shall have
       the same effect as a judgment of the district court of the district where registered
       and may be enforced in like manner.
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Hon. Julia C. Dudley, Clerk
March 15, 2022
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       A certified copy of the satisfaction of any judgment in whole or in part may be
       registered in like manner in any district in which the judgment is a lien.
       The procedure prescribed under this section is in addition to other procedures
       provided by law for the enforcement of judgments.

28 U.S.C. § 1963.

       I am also enclosing a copy of this filing. I would appreciate it if you would file-
stamp it and return it to me in the enclosed, self-addressed, and stamped envelope.

        Finally, if you could note your case or other identifying number for this judgment
on the copy you return to me, that would be appreciated.

       Please let me know if you have any questions concerning this filing.

                                         Sincerely,

                                         7L--z.r
                                         Kevin W. Mottley




Enclosure
